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5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,            No.   2:15-cr-00236-GEB

10                  Plaintiff,

11       v.                               TRIAL CONFIRMATION ORDER

12   NELLI KESOYAN,

13                  Defendant.

14
               Trial     in   the    above-captioned    case,    scheduled    to
15
     commence at 9:00 a.m. on January 23, 2018, was confirmed at the
16
     hearing held on December 8, 2017.
17
                                 EVIDENTIARY DISPUTES
18
               All evidentiary disputes capable of being resolved by
19
     in limine motions shall be filed no later than December 29, 2017.
20
     Oppositions to the motions or statements of non-opposition shall
21
     be filed no later than January 5, 2018.
22
               Any     reasonably    anticipated    dispute     concerning   the
23
     admissibility of evidence that is not briefed in an in limine
24
     motion shall be included in trial briefs as explained in the
25
     below footnote.
26
                                  TRIAL PREPARATION
27
               A.      No later than five court days before the trial
28
                                          1
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1    commencement date, the following documents shall be filed:

2                        (1)     proposed    jury      instructions       and    a   proposed

3    verdict form (and the Courtroom Deputy Clerk shall be emailed a

4    word version of the documents);

5                        (2)     proposed voir dire questions to be asked by

6    the Court;

7                        (3)     trial briefs;1 and

8                        (4)     a      document           containing      a      sufficient

9    explanation of the particular factual situation involved in the

10   trial so that we can ascertain whether a potential juror can be a

11   fair and impartial juror in this case.

12                B.     The government’s exhibits shall be numbered with

13   stickers.        Should the defendant elect to introduce exhibits at

14   trial, such exhibits shall be designated by alphabetical letter

15   with stickers.       The parties may obtain exhibit stickers from the

16   Clerk’s Office.       The government shall file an exhibit list and a

17   witness list as soon as practicable.

18                C.     The jury will be told that it is estimated that it

19   will take six (6) court days to present evidence to the jury and

20   to    complete    closing       arguments.       Each       party   has    fifteen    (15)
21   minutes     for    voir    dire,    which       may    be    used   after    the     judge

22   completes judicial voir dire (unless the judge decides to conduct

23   all voir dire).           Two (2) alternate jurors will be empaneled, if

24   feasible.

25                The “struck jury” system will be used to select the

26   1
       To ensure that the trial proceeds at a reasonable pace, the government is
     required to include in its trial brief a summary of points of law, including
27   reasonably anticipated disputes concerning admissibility of evidence, legal
     arguments, and citations of authority in support thereof. The defense is also
28   encouraged to do this to the extent it opines it should.
                                                 2
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1    jury unless this case is reassigned and the reassigned judge

2    elects    to    use    another   system.        The    struck    jury    system     is

3    “designed to allow both the prosecution and the defense a maximum

4    number of peremptory challenges.              The venire . . . start[s] with

5    about    3[6]    potential     jurors,   from      which   the   defense    and    the

6    prosecution alternate[] with strikes until a petite panel of 12

7    jurors remain[s].”           Powers v Ohio, 499 U.S. 400, 404-05 (1991);

8    see also United States v. Esparza-Gonzalez, 422 F.3d 897, 899

9    (9th Cir. 2005) (discussing “the ‘struck jury’ system to select

10   jurors”).

11                  The    Jury   Administrator      randomly     selects       potential

12   jurors and places their names on a list that will be provided to

13   each party in the numerical sequence in which they were randomly

14   selected.        Each potential juror will be placed in his or her

15   randomly-selected seat.          The first 12 randomly selected potential

16   jurors on the list will constitute the petit jury unless one or

17   more of those 12 is excused.                 Assuming that the first listed

18   potential juror is excused, the thirteenth listed potential juror

19   becomes one of the twelve jurors that could be empaneled as the

20   petit jury.
21                  The Courtroom Deputy Clerk gives each potential juror a

22   large    laminated      card   depicting     the    numerical    order     that    the

23   potential juror was randomly selected.

24                  Following the voir dire questioning, each side take

25   turns    exercising      peremptory   challenges.          The   parties    will    be

26   given a sheet of paper (“strike sheet”) that will be used to
27   silently exercise peremptory challenges in the manner specified

28   on the strike sheet.             If a party elects to pass rather than
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1    exercise a particular peremptory challenge, the word “pass” shall

2    be     placed    on    the    strike     sheet       for    that     waived      peremptory

3    challenge and that challenge is waived for the then-constituted

4    jury panel.       See generally, United States v. Yepiz, 685 F.3d 840,

5    845-46 (9th Cir. 2012) (indicating “‘use it or lose it’ voir dire

6    [waiver]    practice”         is    authorized       if    “the    composition      of    the

7    panel” does not change).

8                The       parties       requested    that      the    alternate      jurors    be

9    retained    after      the    jury     retires       to   deliberate,      and    that    the

10   alternate jurors would then no longer be required to appear in

11   court unless directed to appear by the Courtroom Deputy.

12               D.        If any party desires training on the court’s audio

13   visual     equipment         that     party     should      contact       Richard      Arendt

14   (rarendt@caed.uscourts.gov)               in     the       IT     Department      to     make

15   arrangements      for     training.            The    courtroom      is    available      for

16   training Monday through Thursday between 8:00 and 8:30 a.m.                                If

17   training is not needed and a party wants to test the equipment,

18   this can be done on the morning of trial between 8:00 and 8:30

19   a.m.

20               E.        Each party has fifteen (15) minutes to make an
21   opening statement.

22               F.        After closing jury instructions, the judge intends

23   to communicate the following with the Court Security Officer and

24   the jury:

25                    The Courtroom Deputy shall administer
                 the oath to the United States Court Security
26               Officer.
27                    Sir, the jury may take a break and/or
                 break for a meal, without consulting me; the
28               breaks are under your general supervision.
                                      4
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1              If the jury adjourns for lunch, a Court
               Security Officer shall immediately tell the
2              Courtroom Deputy so that my staff, the
               lawyers, the parties, and I can be relieved
3              from standby status while the jury adjourns
               deliberations.
4
                    Should the jury adjourn later today,
5              jurors are permitted tomorrow to proceed
               directly to the jury deliberation room, but
6              jurors are to wait until all jurors are
               present before resuming deliberations because
7              all jurors must be present when the jury
               deliberates. Jury deliberations shall occur,
8              as needed, until 4:30 p.m. when the jury
               shall adjourn for the evening; and the jury
9              shall resume deliberations the next day
               commencing at 9:00 a.m.
10
                    A Court Security Officer will maintain a
11             post outside the jury deliberation room to
               protect the jury from outside influences or
12             visitors.   The Court Security Officer will
               not communicate with a juror about the case
13             or    the   court    system   because    such
               conversations could be misconstrued as a
14             communication that seeks to influence a
               juror. What I just said does not apply to a
15             note that a juror and/or the jury gives to
               the Court Security Officer, because a juror
16             and/or the jury is required to inform the
               Court Security Officer that a note needs to
17             be given to the judge.

18                   Each juror may continue possessing his
               or her cell phone or other communication
19             device, but that device shall be turned off
               when the jury is engaged in deliberation.
20             The Court Security Officer shall escort all
               jurors, except the alternate jurors, to the
21             jurors to the jury deliberation room.

22             G.    Further the Court intends to tell the alternate

23   jurors what follows:

24                  Under federal law, an alternate juror
               can only go into the jury deliberation room
25             if the alternate juror replaces a juror.
               Therefore, you may leave the courthouse now
26             and do what you normally do when you are not
               on a jury.    However, you are still bound by
27             the   admonitions    I  gave   in   the   jury
               instructions,    since  you   may   eventually
28             replace one of the deliberating jurors.     If
                                         5
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1              you are needed to replace a juror, the
               Courtroom Deputy will tell you to appear in
2              this courtroom. If you replace a deliberating
               juror, the jury would be instructed that it
3              has to commence jury deliberations anew.
               Provide the Courtroom Deputy with your
4              contact information before you leave the
               courtroom.    If the trial is resolved, the
5              Courtroom Deputy will inform you that you are
               discharged from further service on this case
6              and you are released from the admonitions,
               including the directive that you not talk to
7              others about this case.    In the event I do
               not see you again, thank you for your service
8              on this case.

9              Any objection to or proposed modification to either or

10   both communications in sections F and G shall be filed no later

11   than five (5) days after this order is filed.

12   Dated:   December 8, 2017

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